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 M ARCU S BELL,eta1.,                        By: M ichaelF.U tbansld
                                             CbiefUnited StatesDistdctJudge
       D efendants.


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 Pqt-tiesandAction,pursuanttoFederalRuleofCivilProcedure41(a)(1).Veniceseeksto
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